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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


PAMELA SMOCK,
                                                Case No. 18-10407
              Plaintiff,
                                                SENIOR U.S. DISTRICT JUDGE
v.                                              ARTHUR J. TARNOW

BOARD OF REGENTS OF THE                         U.S. MAGISTRATE JUDGE
UNIVERSITY OF MICHIGAN, ET AL.,                 R. STEVEN WHALEN

              Defendants.
                                      /

     ORDER GRANTING IN PART AND DENYING IN PART DEFENDANT’S MOTION TO
                DISMISS PLAINTIFF’S CLAIM FOR DAMAGES [32]

        Plaintiff, Professor Pamela Smock, brought this § 1983 action against her

employer, the Board of Regents of the University of Michigan, and several of its

officials, alleging that the University deprived her of her First and Fourteenth

Amendment rights by disciplining her on the basis of her conversations and behavior

with her students. On November 19, 2018, following a hearing, the Court granted

Defendants’ Motion to Dismiss Professor Smock’s First Amendment claims. (Dkt.

# 29). It allowed her to proceed on her due process claims at least insofar as they

related to the University’s decision to suspend her accrual of sabbatical leave time

and limit her role as a graduate student mentor. It also dismissed both the Board of

Regents and the President of the University as Defendants.
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      On January 24, 2019, the remaining Defendants filed a Motion to Dismiss

Plaintiff’s claims for damages [32], arguing that Andrew Martin and Martin Philbert

are entitled to qualified immunity for their role in disciplining Professor Smock. The

motion is fully briefed, and the Court finds the motion suitable for determination

without oral argument pursuant to Local Rule 7.1(f)(2).

                                  LEGAL STANDARD

      Defendants move to dismiss Plaintiff’s claims for damages for failure to state

a claim upon which relief can be granted. Fed. R. Civ. P 12(b)(6). On a motion to

dismiss, the Court must “construe the complaint in a light most favorable” to

Plaintiff and “accept all of [its] factual allegations as true.” Lambert v. Hartman, 517

F.3d 433, 439 (6th Cir. 2008). “Although the factual allegations in a complaint need

not be detailed, they ‘must do more than create speculation or suspicion of a legally

cognizable cause of action; they must show entitlement to relief.’” Id. (quoting

LULAC v. Bredesen, 500 F.3d 523, 527 (6th Cir. 2007)). To survive such a motion,

Plaintiff must plead factual content that allows the Court to draw a reasonable

inference that the defendant is liable for the misconduct alleged. Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009). “[W]here the well-pleaded facts do not permit the court

to infer more than the mere possibility of misconduct, the complaint has alleged—

but it has not ‘show[n]’—'that the pleader is entitled to relief.’” Iqbal, 556 U.S. at

679 (quoting FED. R. CIV. P. 8(a)(2)).

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                                      ANALYSIS

      Defendants argue that they are entitled to qualified immunity for their decision

to discipline Plaintiff. Qualified immunity shields state officials from money

damages unless Plaintiff pleads facts showing that 1) the official violated a statutory

or constitutional right and 2) that the right was clearly established at the time of the

violation. Ashcroft v. al-Kidd, 563 U.S. 731, 735 (2011). For a constitutional right

to be clearly established, “its contours must be sufficiently clear that a reasonable

official would understand that what he is doing violates that right.” Hope v. Pelzer,

536 U.S. 730, 739 (2008). The inquiry asks whether or not “in light of pre-existing

law” the unlawfulness of the official’s conduct is apparent. Id. This does not require

a precedential case with identical facts, but it does require one whose lesson would

be clear to state officials. See United States v. Lanier, 520 U.S. 259, 271 (1997)

(“But general statements of the law are not inherently incapable of giving fair and

clear warning, and in other instances a general constitutional rule already identified

in the decisional law may apply with obvious clarity to the specific conduct in

question, even though the very action in question has [not] previously been held

unlawful.”).

      Defendants conceded in their reply that at least at the Motion to Dismiss stage

of this litigation, the Sixth Circuit’s holding in Gunasekera v. Irwin, 551 F.3d 461

(6th Cir. 2009) provided sufficient guidance for state officials to know that

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professors have a constitutionally protected right in their advisorship duties. (Dkt. #

34, pg. 4). It is clearly established that professors must be afforded a due process

with before advisorship duties can be removed, especially in light of the stigma such

discipline produces. Gunasekera, 551 F.3d at 470.

      The only remaining issue is whether it was clearly established law in 2017

that a tenured professor could not be denied sabbatical leave without due process. It

was not. Sabbatical time is not accrued leave time, but rather a time for a Professor

to “contribute to the professional effectiveness of the applicant and the best interest

of the University.” (See University of Michigan Faculty Handbook § 16.B.1).

Sabbatical time thus represents a hybrid between time off and a job duty. Because it

represents both an accrued labor benefit and an integral part of a professor’s role in

the academic community, sabbatical time can represent a constitutionally protected

property interest. This would not have been “obvious” to University administrators,

however, within the meaning of qualified immunity jurisprudence.

      The Sixth Circuit in Ramsey, for instance, found that plaintiff’s federal suit

for losing her sick days was properly dismissed because she had an adequate remedy

at state law. Ramsey v. Board of Educ. Of Whitley County, Ky, 844 F.2d 1268 (6th

Cir. 1988). Though the 113 sick days of the plaintiff in Ramsey could easily be

converted to money and remedied by a contract claim, and sick days are therefore



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entitled to less constitutional protection than sabbatical time, the Ramsey Court did

not, as Plaintiff argues, announce a clear rule in her favor. Id. at 1271.

      The Sixth Circuit has also found that a collective bargaining agreement could

create a property interest in a teacher’s job in a specific school, and a due process

hearing was therefore required before a transfer. Leary v. Daeschner, 228 F.3d 729,

742 (6th Cir. 2000). Though this puts school administrators on notice that demoting

an employee could affect her constitutional rights, the connection between a job

transfer and a loss of sabbatical time is not obvious. Plaintiff focuses on the fact that

Defendant ignored clearly established precedent by conducting a flawed due process

hearing. Though this is true, she will not be able to recover monetary damages unless

the right that she was deprived—accrued sabbatical time—was also clearly

established.

      It was not. No binding precedent speaks so unambiguously as to have put

Professor Smock’s constitutional entitlement to sabbatical time “beyond debate.”

See al-Kidd, 563 U.S. at 741. Though it is well established that a University’s

policies can create property interests, clearly not all policy provisions give rise to

property interests of constitutional dimensions. The Supreme Court has admonished

courts “not to define clearly established law at a high level of generality.” Mullenix

v. Luna, 136 S. Ct. 305, 308 (2015). Because it was not clearly established at the

time of Professor Smock’s suspension that professors had a constitutionally

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protected interest in their sabbatical time, the Court can provide Professor Smock

only with injunctive relief for this deprivation.

      Accordingly,

      IT IS ORDERED that Defendants’ Motion to Dismiss Plaintiff’s Claim for

Damages [32] is GRANTED IN PART AND DENIED IN PART.

      SO ORDERED.


                                        s/Arthur J. Tarnow
                                        Arthur J. Tarnow
Dated: May 23, 2019                     Senior United States District Judge




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